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                      UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK


VIRGINIA L. GIUFFRE,

            Plaintiff,                          CASE NO:


v.

PRINCE ANDREW, DUKE OF YORK,
a/k/a ANDREW ALBERT CHRISTIAN
EDWARD, in his personal capacity,

            Defendant.

_____________________________________ /


                                    COMPLAINT




                                          BOIES SCHILLER FLEXNER LLP
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       Plaintiff Virginia L. Giuffre, by her attorneys Boies Schiller Flexner LLP, for her

Complaint against Defendant Prince Andrew, Duke of York, a/k/a Andrew Albert Christian

Edward (“Prince Andrew”), avers upon personal knowledge as to her own acts and status and upon

information and belief and to all other matters as follows:

                                  NATURE OF THE ACTION

       1.      This suit arises out of Defendant’s sexual abuse of Plaintiff when she was under the

age of 18 years old.

       2.      During 2000–2002, beginning when Plaintiff was 16, Plaintiff was the victim of

sex trafficking and abuse by convicted sex offender Jeffrey Epstein.

       3.      Epstein’s trafficking scheme involved recruiting young girls, often by claiming

they would be paid $200 for simply providing a massage to a wealthy billionaire. This same pattern

was repeated numerous times with countless children and young women.

       4.      As United States District Judge Kenneth Marra found, “From between about 1999

and 2007, Jeffrey Epstein sexually abused more than 30 minor girls . . . at his mansion in Palm

Beach, Florida, and elsewhere in the United States and overseas . . . . In addition to his own sexual

abuse of the victims, Epstein directed other persons to abuse the girls sexually. Epstein used paid

employees to find and bring minor girls to him. Epstein worked in concert with others to obtain

minors not only for his own sexual gratification, but also for the sexual gratification of others.”

Opinion and Order, Doc. No. 435 at 1–2, Jane Doe 1 and Jane Doe 2 v. United States, Case No.

9:08-cv-80736 (S.D. Fla. Feb. 21, 2019).

       5.      Like other minor children who came before and after her, Plaintiff was initially

recruited to provide massages, and thereafter to engage in a variety of sexual acts, for Epstein.

Plaintiff was required to be on call for Epstein for sexual purposes and frequently traveled with

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him both nationally and internationally. Plaintiff was regularly abused by Epstein and was lent

out by Epstein to other powerful men for sexual purposes.

       6.       One such powerful man to whom Plaintiff was lent out for sexual purposes was the

Defendant, Prince Andrew, the Duke of York.

       7.       Prince Andrew was a close friend of Ghislaine Maxwell, a British socialite who

spent years overseeing and managing Epstein’s sex trafficking network, and actively recruited

underage girls, including Plaintiff.

       8.       According to Prince Andrew, he met Epstein through Maxwell in 1999. Prince

Andrew thereafter became a frequent guest in Epstein’s various homes around the world, including

New York City where he sexually abused Plaintiff at Epstein and Maxwell’s invitation when she

was a minor.

       9.       After publicly feigning ignorance about the scope of Epstein’s sex-trafficking

operation and sympathy for Epstein’s victims, Prince Andrew has refused to cooperate with U.S.

authorities in their investigation and prosecution of Epstein and his co-conspirators.

       10.      Prince Andrew committed sexual assault and battery upon Plaintiff when she was

17 years old. As such, Prince Andrew is responsible for battery and intentional infliction of

emotional distress pursuant to New York common law. The damage to Plaintiff has been severe

and lasting.

       11.       This action has been timely filed pursuant to the Child Victims Act, N.Y. C.P.L.R.

§ 214-g. The actions described herein constitute sexual offenses by Defendant under New York

Penal Law Article 130, and were committed against Plaintiff when she was a child less than

eighteen years of age, for which she suffered physical, psychological, and other injuries as a result.




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                                              PARTIES

         12.    Plaintiff Virginia L. Giuffre is an individual who is a citizen of the State of

Colorado.

         13.    Defendant Prince Andrew is a citizen of the United Kingdom, and is currently

residing at the Royal Lodge at Windsor Great Park, Berkshire, United Kingdom, where he is

domiciled.

                                  JURISDICTION AND VENUE

         14.    This Court has diversity jurisdiction over this dispute pursuant to 28 U.S.C.

§ 1332(a)(2). Plaintiff is a citizen of a State and Defendant is a citizen of a foreign state, and the

amount in controversy exceeds the sum or value of $75,000.00 excluding interests and costs.

         15.    Venue is proper in this Court as a substantial part of the events or omissions giving

rise to Plaintiff’s claims occurred within this District. 28 U.S.C. § 1391(b)(2).

         16.    This Court has personal jurisdiction over Defendant as Defendant sexually abused

Plaintiff in this state, and has thus committed a tortious action within this State pursuant to New

York’s long-arm statute, N.Y. C.P.L.R. § 302(a)(2). Defendant also visited Jeffrey Epstein in this

State on numerous occasions. Defendant could reasonably anticipate that a suit based upon his

acts and omissions with respect to Plaintiff could result in him being subject to suit in this State,

and this suit arises directly out of the Defendant’s acts or omissions with respect to Plaintiff in this

state.

                                   FACTUAL ALLEGATIONS

A.       Epstein’s Sex Trafficking Enterprise

         17.    Jeffrey Epstein was widely renowned as a billionaire who used his vast connections

to powerful individuals, and seemingly unlimited wealth and resources, to create a web of


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transcontinental sex trafficking that served himself, his coconspirators, and some of the most

powerful people in the world.

        18.     Ghislaine Maxwell is a British socialite and the daughter of disgraced publishing

tycoon Robert Maxwell. Maxwell was the highest-ranking recruiter in Epstein’s sex-trafficking

enterprise. Maxwell is currently facing criminal charges in the Southern District of New York

stemming from her role in Epstein’s sex-trafficking enterprise, and is set to face trial in the fall.

        19.     Epstein had perfected a scheme for manipulation and abuse of young females. As

part of the scheme, Maxwell or another female recruiter would approach a young girl and strike

up a conversation in an effort to quickly learn about the girl’s background and any vulnerabilities

they could expose. Epstein’s recruiters found their targets everywhere and anywhere, including

schools, spas, trailer parks, and the street.

        20.     The recruiter would then manipulate the young female into coming back to one of

Epstein’s residences by offering the young girl something she needed, depending on her situation.

In many cases, the recruiter sought out girls who wanted to be professional masseuses and invited

them to one of Epstein’s homes by offering them what appeared to be legitimate masseuse

positions.

        21.     Once in the residence, Epstein and his co-conspirators would work in concert to

impress and intimidate the young female with displays of vast wealth and power. They would

brag about their connections to very powerful political and social figures, and display photographs

of themselves with those figures around Epstein’s homes. They would normalize the sexual abuse

by displaying photographs and art displaying nude females, and a massage table and spa related

products in an effort to legitimize the area where the abuse was set to occur.




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       22.     Once abused, Epstein and Maxwell continued to manipulate their victims, using

their financial power, promises, and threats to ensure that the victim returned as directed and

remained compliant with their demands. Epstein and his lawyers would even gather information

about the victims to use against them if they ever disobeyed him, and his homes were under

constant surveillance.

       23.     Message pads recovered during trash pulls at Epstein’s Palm Beach mansion reflect

messages that his staff took to relay to Epstein. They show the constant flow of girls to Epstein,

sometimes three per day. Epstein’s employees have also described young girls constantly being

present at Epstein’s different homes. Epstein’s constant access to young girls is also evidenced in

his “Black Book,” a book of phone numbers and contact information listing girls to call for

“massages” in various cities, flight logs documenting his frequent travel with young girls and

powerful individuals on his private plane, and troves of lewd photographs of young girls recovered

from his homes. In his Black Book, Epstein had at least 12 different contact numbers listed for

Prince Andrew.

       24.     Plaintiff became a victim of sex trafficking and repeated sexual abuse after

Maxwell recruited her into Epstein’s sex-trafficking operation when Plaintiff was working at the

Mar-A-Lago Club in Palm Beach, Florida.

       25.     Between 2000 and 2002, Epstein sexually abused Plaintiff at numerous locations

including his mansion in this District, at 9 East 71st Street, New York, New York 10021.

       26.     Epstein also flew Plaintiff on his plane nationally and internationally numerous

times when she was under the age of 18. Only portions of the flight logs of Epstein’s private planes

have yet been recovered, and Epstein also flew Plaintiff frequently on commercial airlines to meet

him and others. However, the chart below, which shows Plaintiff’s flights on Epstein’s private

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plane from the limited logs that are available, illustrates the international scope of Epstein’s sex

trafficking.




        27.     In addition to being abused by Epstein himself, Plaintiff was also forced to have

sex with Defendant, Prince Andrew, the Duke of York, at Epstein and Maxwell’s direction.

        28.     As part of their sex trafficking efforts, Epstein and Maxwell intimidated Plaintiff

into remaining silent about what had happened to her.

        29.     After years of abuse, Epstein sent Plaintiff to Thailand in September 2002. One of

Plaintiff’s assignments from Epstein was to bring a young girl back to Epstein in the United States.

Fearing for her life, and not wanting to subject another young girl to the abuse she was forced to

endure, Plaintiff fled from Thailand to Australia to escape from Epstein.

B.     Defendant’s Relationship with Epstein and Maxwell

        30.     According to Prince Andrew, he first met Epstein in 1999 through Maxwell, Prince

Andrew’s close friend. Prince Andrew and Maxwell have been photographed at numerous social

events together.

        31.     According to available flight logs, Prince Andrew began flying with Epstein on his

private plane as early as 1999, when he flew with Epstein and Maxwell to Epstein’s private island,

Little St. James. Prince Andrew’s name also appears in other available flight log entries from

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around the same time, showing travel with Epstein and Maxwell to and from other locations,

including West Palm Beach, Florida, and Teterboro, New Jersey.

       32.     In 2000, Epstein and Maxwell attended Prince Andrew’s 40th birthday party. That

same year, Prince Andrew threw Maxwell a birthday party in Sandringham, United Kingdom, and

Epstein was among the guests.

       33.     In 2006, Prince Andrew invited Epstein to his daughter’s 18th birthday party,

despite Epstein being charged with procuring a minor for prostitution only one month prior.

       34.     Prince Andrew has himself confirmed that he has been on Epstein’s private plane,

stayed at Epstein’s private island, and stayed at Epstein’s homes in Palm Beach, Florida, and New

York, New York. See Prince Andrew's links to Jeffrey Epstein, BBC News (Nov. 16, 2019),

available at https://www.bbc.com/news/uk-49411215.

       35.     Members of Epstein’s house staff have confirmed witnessing Prince Andrew visit

Epstein’s numerous homes, both to the media and in sworn testimony.

C.    Defendant’s Sexual Abuse of Plaintiff

       36.     Prince Andrew abused Plaintiff on separate occasions when she was under the age

of 18 years old.

       37.     On one occasion, Prince Andrew sexually abused Plaintiff in London at Maxwell’s

home. During this encounter, Epstein, Maxwell, and Prince Andrew forced Plaintiff, a child, to

have sexual intercourse with Prince Andrew against her will.

       38.     The below photograph depicts Prince Andrew, Plaintiff, and Maxwell at Maxwell’s

home prior to Prince Andrew sexually abusing Plaintiff.




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       39.     On another occasion, Prince Andrew sexually abused Plaintiff in Epstein’s New

York mansion in this District. During this encounter, Maxwell forced Plaintiff, a child, and another

victim to sit on Prince Andrew’s lap as Prince Andrew touched her. During his visit to New York,

Prince Andrew forced Plaintiff to engage in sex acts against her will.

       40.     On another occasion, Prince Andrew sexually abused Plaintiff on Epstein’s private

island in the U.S. Virgin Islands, Little St. James.

       41.     During each of the aforementioned incidents, Plaintiff was compelled by express

or implied threats by Epstein, Maxwell, and/or Prince Andrew to engage in sexual acts with Prince

Andrew, and feared death or physical injury to herself or another and other repercussions for

disobeying Epstein, Maxwell, and Prince Andrew due to their powerful connections, wealth, and

authority.


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        42.     During each of the aforementioned incidents, Prince Andrew acted with intent to

compel Plaintiff’s submission.

        43.     Prince Andrew engaged in each of the aforementioned sexual acts with Plaintiff at

Epstein and Maxwell’s invitation, knowing that she was a sex-trafficking victim being forced to

engage in sexual acts with him.

        44.     During each of the aforementioned incidents, Plaintiff did not consent to engaging

in sexual acts with Prince Andrew.

        45.     During each of the aforementioned incidents, Prince Andrew knew Plaintiff’s age

based on communications from Epstein and Maxwell.

        46.     During each of the aforementioned incidents, Prince Andrew sexually abused

Plaintiff for the purpose of gratifying his sexual desires.

        47.     During each of the aforementioned incidents, Prince Andrew was acting in his

individual, personal capacity, and was not performing any duty relating to his former role as a

trade envoy, any duty relating to his role as a member of the Royal Family of the United Kingdom,

or any other official or diplomatic duty or function.

        48.     Defendant’s sexual assault and battery of Plaintiff have caused her, and continue to

cause her, significant emotional and psychological distress and harm.

D.     The Arrest, Prosecution, and Death of Epstein, and Prince Andrew’s Refusal to
        Cooperate with the Authorities

        49.     In 2008, Epstein pled guilty in Florida to the charge of procuring a minor for

prostitution.

        50.     In 2010, after Epstein had served his sentence and registered as a sex offender,

Prince Andrew was photographed with Epstein in Central Park and stayed at Epstein’s New York

City mansion.
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       51.       Epstein flippantly referred to his sexual abuse of multiple minors, and the slap on

the wrist he had received for it, in a 2011 interview with the New York Post: “Billionaire pervert

Jeffrey Epstein is back in New York City—and making wisecracks about his just-ended jail stint

for having sex with an underage girl. ‘I am not a sexual predator, I’m an “offender,”’ the financier

told The Post yesterday. ‘It’s the difference between a murderer and a person who steals a bagel,’

said Epstein.” See Amber Sutherland, Billionaire Jeffrey Epstein: I’m a Sex Offender, Not A

Predator, New York Post (Feb. 25, 2011), available at https://bit.ly/2s3ebwk.

       52.       Around the same time, Prince Andrew began to face criticism over his well-

publicized friendship with Epstein.

       53.       In early 2015, after Plaintiff had publicly accused Prince Andrew of sexually

abusing her, Prince Andrew emailed Maxwell stating, “Let me know when we can talk. Got some

specific questions to ask you about Virginia Roberts.”

       54.       On July 2, 2019, the U.S. Attorney’s Office for the Southern District of New York

(“SDNY”) charged Epstein with sex trafficking conspiracy and sex trafficking in violation of 18

U.S.C. § 1591.

       55.       Epstein was arrested on July 8, 2019, pursuant to a Sealed Two Count Indictment.

       56.       Epstein was found dead in his cell at the Metropolitan Correctional Center on

August 10, 2019.

       57.       Just one year before his death, Epstein told a New York Times reporter “that

criminalizing sex with teenage girls was a cultural aberration and that at times in history it was

perfectly acceptable.” James B. Stewart, The Day Jeffrey Epstein Told Me He Had Dirt on

Powerful       People,       N.Y.      Times       (Aug.      12,      2019),      available      at

https://www.nytimes.com/2019/08/12/business/jeffrey-epstein-interview.html.

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        58.       After Epstein’s second arrest and death, numerous of his co-conspirators and the

wealthy individuals to whom he trafficked girls—including Prince Andrew—began to face

increased public scrutiny for having close ties to a convicted sex offender.

        59.       In November 2019, in response to this renewed scrutiny, Prince Andrew sat for an

interview with BBC Newsnight. Prince Andrew stated that he did not regret his friendship with

Epstein and that he had no recollection of meeting Plaintiff, despite photographic evidence to the

contrary.

        60.       Prince Andrew publicly pledged, including in a statement stepping down from his

public duties and in his Newsnight interview, to assist the U.S. authorities with their criminal

investigation of Epstein and his co-conspirators. A statement by His Royal Highness The Duke of

York (Nov. 20 2019), available at https://www.royal.uk/statement-his-royal-highness-duke-york

(“Of course, I am willing to help any appropriate law enforcement agency with their investigations,

if required.”).

        61.       Despite this public pledge, Prince Andrew has refused to cooperate with U.S.

authorities. Former SDNY U.S. Attorney Geoffrey Berman stated that Prince Andrew had

provided “zero co-operation” despite U.S. prosecutors and the FBI contacting Prince Andrew’s

counsel. Prince Andrew gives ‘zero co-operation’ over Epstein inquiry, US prosecutor says, BBC

News (Jan. 27, 2020), available at https://www.bbc.com/news/uk-51271871.

        62.       Prince Andrew and his counsel have also refused to cooperate with counsel for the

victims of Epstein’s sex trafficking. Counsel for the victims of Epstein’s sex trafficking, including

counsel for Plaintiff, have repeatedly asked for a meeting or telephone call with Prince Andrew

and/or his representatives to enable Prince Andrew to provide whatever facts, context, or

explanation he might have, and to explore alternative dispute resolution approaches. Prince

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Andrew and his representatives have rejected all such requests, and responded by escalating their

vile and baseless attacks on Plaintiff and others.

          63.     On July 19, 2021, counsel for Plaintiff proposed a tolling agreement that would

have enabled Plaintiff not to sue Prince Andrew at this time, while avoiding any argument that her

failure to do so caused her claims to be time-barred. Again Prince Andrew stonewalled—ignoring

Plaintiff’s letter and emails without any reply or response, thereby making this action necessary

now. A copy of the July 19, 2021, letter proposing a tolling agreement is attached as Exhibit A to

this Complaint.

          64.     In this country no person, whether President or Prince, is above the law, and no

person, no matter how powerless or vulnerable, can be deprived of the law’s protection. Twenty

years ago Prince Andrew’s wealth, power, position, and connections enabled him to abuse a

frightened, vulnerable child with no one there to protect her. It is long past the time for him to be

held to account.

                                    FIRST CAUSE OF ACTION

                                               (Battery)

          65.     Plaintiff repeats and re-alleges the allegations stated above as if fully set forth

herein.

          66.     Prince Andrew intentionally committed battery by sexually assaulting Plaintiff

when she was a minor. As described above, on multiple occasions Prince Andrew intentionally

touched Plaintiff in an offensive and sexual manner without her consent.

          67.     Prince Andrew’s actions constitute sexual offenses as defined in New York Penal

Law Article 130, including but not limited to sexual misconduct as defined in Article 130.20, rape

in the third degree as defined in Article 130.25, rape in the first degree as defined in Article 130.35,

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forcible touching as defined in Article 130.52, sexual abuse in the third degree as defined in Article

130.55, and sexual abuse in the first degree as defined in Article 130.65. See N.Y. C.P.L.R.

§ 214-g.

          68.     As a direct and proximate result of Prince Andrew’s criminal acts, Plaintiff has in

the past and will in the future continue to suffer substantial damages, including extreme emotional

distress, humiliation, fear, psychological trauma, loss of dignity and self-esteem, and invasion of

her privacy.

                                  SECOND CAUSE OF ACTION

                            (Intentional Infliction of Emotional Distress)

          69.     Plaintiff repeats and re-alleges the allegations stated above as if fully set forth

herein.

          70.     As a direct result of these allegations as stated, Prince Andrew committed

intentional infliction of emotional distress against Plaintiff.

          71.     Prince Andrew’s actions, described above, constitute extreme and outrageous

conduct that shocks the conscience. Prince Andrew’s sexual abuse of a child who he knew was a

sex-trafficking victim, and when he was approximately 40 years old, goes beyond all possible

bounds of decency and is intolerable in a civilized community.

          72.     Prince Andrew knew or disregarded the substantial likelihood that these actions

would cause Plaintiff severe emotional distress.

          73.     As a direct and proximate result of Prince Andrew’s criminal acts, Plaintiff has in

the past and will in the future continue to suffer substantial damages, including extreme emotional

distress, humiliation, fear, psychological trauma, loss of dignity and self-esteem, and invasion of

her privacy.


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                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests judgment against Defendant, awarding

compensatory, consequential, exemplary, and punitive damages in an amount to be determined at

trial; costs of suit; attorneys’ fees; and such other and further relief as the Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff hereby demands a trial by jury on all causes of action asserted within this pleading.



Dated: August 9, 2021                                    BOIES SCHILLER FLEXNER LLP

                                                         /s/ David Boies
                                                         David Boies
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               Exhibit A
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                                            July 19, 2021



VIA ELECTRONIC MAIL & FEDEX
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              Re:     Virginia Giuffre Confidential & For Settlement Purposes Only

       We write on behalf of Virginia Giuffre on the understanding that you represent
Prince Andrew, Duke of York.

        As we believe you know, Ms. Giuffre has asserted claims against Prince Andrew
that may be actionable pursuant to the New York Child Victims Act. Under that act, in the
absence of a tolling agreement, Ms. Giuffre needs to assert those claims now or expose
herself to certain limitations defenses.

       We have previously sought, so far without success, to meet with Prince Andrew or
his counsel to receive Prince Andrew’s information and views, and to discuss whether a
negotiated resolution might be appropriate. We continue to be interested in such an
approach. We enclose for your consideration a tolling agreement that would permit Ms.
Giuffre to avoid commencing an action at this time without prejudicing her claims.
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        If you do in fact continue to represent Prince Andrew, we hope you and he will
agree that a tolling agreement is appropriate. If you do not represent Prince Andrew, please
advise us and pass this proposal on to Prince Andrew and/or his current counsel.

        I know you will understand that Ms. Giuffre’s counsel have a fiduciary duty to her
not to permit a risk that her claims be time-barred, and if we are not able to secure a tolling
agreement promptly, a lawsuit will necessarily be filed to preserve those claims. We hope
that will not be required at this time, and look forward to your response.

                                               Very truly yours,




                                               David Boies


 cc:    Sigrid S. McCawley




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         CONFIDENTIAL SETTLEMENT COMMUNICATION PURSUANT TO
                    F.R.E. 408 AND STATE EQUIVALENTS

                                    TOLLING AGREEMENT

       This Tolling Agreement (“Agreement”) is made by and between Virginia Giuffre (“Ms.
Giuffre”) and Prince Andrew, Duke of York (“Prince Andrew”). Ms. Giuffre and Prince Andrew
are each a “Party” and are collectively referred to as the “Parties.”

       WHEREAS, Ms. Giuffre, by her attorney, has advised Prince Andrew, through his
attorney, that she possesses certain claims against Prince Andrew (“Claims”) and that those
Claims arise from various incidents during which Ms. Giuffre contends Prince Andrew
committed one or more sex offenses against her;

       WHEREAS, Ms. Giuffre does not concede any statutes of limitations applicable to her
Claims;

        WHEREAS, notwithstanding the above and assuming, arguendo, that certain of Ms.
Giuffre’s Claims are subject to statutes of limitation, the Parties believe that it is in their mutual
interest to toll any statutes of limitation and potentially limit administrative and legal costs;

       NOW THEREFORE, for good and sufficient consideration, the receipt of which is
hereby acknowledged, the Parties hereby agree as follows:

        1. Term. The term of this Agreement (the “Term”) shall begin on July 21, 2021 and be
extended such that it terminates on January 31, 2022 unless further extended by an agreement of
the Parties in writing. Either Party shall have the right to terminate this Agreement on ten
business days’ notice, in which case the tolling period shall end on the eleventh business day
following the date of the notice.

         2. Tolling Provisions. During the Term, no statute of limitations on any Claims shall run
against (and the same shall be tolled as to) Ms. Giuffre. This Agreement shall not be deemed to
shorten any applicable statutes of limitations governing any Claims, and this Agreement is made
without prejudice to other rights, claims, or defenses available to any Party as of the date of this
Agreement. This Agreement shall not be deemed to revive any Claim that is or was already
barred prior to the Term. Nothing in this Agreement, or in the circumstances which gave rise to
it, shall be construed as an admission of any Party that any Claim has or has not been barred by
any statutes of limitations or any other defense based on the lapse of time.

       3. No Admission of Liability. No admission of liability by any Party is expressed or
implied by this Agreement.




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        4. No Waiver. This Agreement shall not in any way constitute a waiver of any arguments
or defenses that Prince Andrew may have or may have in any proceeding in any court, agency, or
other forum. Prince Andrew reserves all rights and remedies available to him, including the right
to argue that the relevant limitations period had run before the Term.

        5. Covenant Not To Sue. The Parties shall not institute any legal actions against one
another, including litigation, arbitration, or any other legal proceeding of any kind, in law or
equity, or assert any claim, counterclaim, demand, or cause of action against one another during
the Term of this Agreement.

        6. Confidentiality. The Parties acknowledge and agree that all communications or
discussions between them (and/or between counsel acting on their behalves) relating to and for
the purpose of a potential settlement of the Claims have been, are, and shall be treated as strictly
confidential, and shall be presumed to be confidential settlement communications and shall be
protected by Rule 408 of the Federal Rules of Evidence, N.Y. C.P.L.R. § 4547, and any similar
or comparable evidentiary privilege in all applicable jurisdictions. For the avoidance of doubt,
nothing in this confidentiality provision is intended to, or does, render the events underlying the
Claims or any other prior dealings between the Parties confidential. The Parties and their
respective counsel further acknowledge and agree that:

       (a) This confidentiality agreement survives the Term of the Tolling Agreement.

       (b) This confidentiality provision does not prohibit any communications any Party shall
           make for the purpose of, or in the course of, seeking or obtaining legal advice.

       (c) The Settlement Discussions shall not be disclosed to any third party, other than
           counsel (or agents for counsel), except, (i) as required by court order, valid legal
           process, or other legal duty to reveal such information to any governmental
           authorities, or in response to a subpoena from any governmental authority, and (ii) as
           necessary to comply with the terms of this Agreement.

       (d) In the event that a Party receives a court order, valid legal process, subpoena, or
           otherwise has a legal duty requiring disclosure of Settlement Discussions, such Party
           shall, to the extent permitted by law, promptly, and in any event within ten (10)
           business days of receipt of the subpoena or request or other notice of such disclosure
           requirement, give written notice to the other Party and include with such notice a
           copy of the relevant subpoena or request. The Party from whom disclosure is
           requested or required shall make a reasonable effort to allow the other Party a
           reasonable period of time in which to seek to quash, limit, or object to such
           disclosure.

       (e) The Parties acknowledge and agree that money damages would not be an adequate
           remedy for any breach of this confidentiality provision, and that in the event that
           either Party breaches this confidentiality provision, the non-breaching Party is
           entitled, in addition to other rights and remedies available to them, to an injunction or

                                                 2
         Case 1:21-cv-06702-LAK Document 1-1 Filed 08/09/21 Page 6 of 7




           other equitable relief to enforce or prevent any violations of this confidentiality
           provision.

        7. Modification. This Agreement can be modified only in a writing signed by the Parties.
This Agreement shall constitute the entire understanding between the Parties concerning the
subject matter of this Agreement and supersedes and replaces all prior negotiations, proposed
agreements, and agreements, written or oral, relating to this subject.

       8. Governing Law. This Agreement shall be governed by and construed and enforced in
accordance with the laws of the state of New York.

        9. Severability. Any term or provision of this Agreement which is invalid or
unenforceable in any jurisdiction will, as to that jurisdiction, be ineffective to the extent of such
invalidity or enforceability without rendering invalid or unenforceable the remaining terms and
provisions of this Agreement or affecting the validity or enforceability of any of the terms or
provisions of this Agreement in any other jurisdiction. If any provision of this Agreement is so
broad as to be unenforceable, the provision will be interpreted only so broad as is enforceable.

        10. Execution of Counterparts. Separate counterparts of this Agreement may be
executed by the Parties, including by electronic signatures and via email, with the same force and
effect as if all such parties had executed a single copy of this Agreement.

        11. Authority to Bind. Each counsel executing this Agreement represents and warrants
that he has been authorized to enter into this Agreement on behalf of the Party or Parties on
whose behalf it is signed and that signatory has full and complete authority to do so.

        12. Successors. This Agreement shall bind and benefit all of the Parties and their
respective executors, heirs, and assigns.

        13. Use of Agreement. This Agreement shall not be used as evidence or referred to in
any proceeding except: (a) to prove or disprove, if contested, the tolling of a statute of
limitation(s) during the Term of this Agreement; or (b) to defeat an argument that any Claims or
defenses thereto have been waived or are barred by laches or equitable estoppel as a result of the
passage of time during the Term. This Agreement shall not be admissible in any proceeding in
any court, agency, or other forum except for the purpose of enforcing this Agreement. The
Parties shall not disclose the existence of this Agreement or the existence or content of any
settlement discussions to any third party.




                                                  3
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Dated: _____________, 2021          Virginia Giuffre

                                    By:_______________________________
                                    Boies Schiller Flexner LLP

Dated: ___________, 2021            Prince Andrew, Duke of York

                                    By:_______________________________




                                       4
JS 44C/SDNY                   Case 1:21-cv-06702-LAK CIVIL
                                                     Document
                                                           COVER2SHEET
                                                                   Filed 08/09/21 Page 1 of 2
REV.
10/01/2020                The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
                          other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
                          United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.



PLAINTIFFS                                                                                     DEFENDANTS

VIRGINIA L. GIUFFRE                                                                            PRINCE ANDREW, DUKE OF YORK, a/k/a ANDREW ALBERT CHRISTIAN
                                                                                               EDWARD, in his personal capacity
ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER                                            ATTORNEYS (IF KNOWN)
David Boies
Boies Schiller Flexner LLP
333 Main Street, Armonk, NY 10504 (914) 749-8200

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
                           (DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

28 U.S.C. § 1332; 28 U.S.C. § 1391(b)(2); New York causes of action

                                                                                                                                                         Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No                             ✔   Yes

If yes, was this case Vol.           Invol.      Dismissed. No             Yes        If yes, give date _______________________ & Case No. ______________________

IS THIS AN INTERNATIONAL ARBITRATION CASE?               No       ✖        Yes

(PLACE AN [x] IN ONE BOX ONLY)                                           NATURE OF SUIT
                                  TORTS                                                                                        ACTIONS UNDER STATUTES



CONTRACT                          PERSONAL INJURY                 PERSONAL INJURY              FORFEITURE/PENALTY              BANKRUPTCY                      OTHER STATUTES
                                                                  [ ] 367 HEALTHCARE/
                                                                  PHARMACEUTICAL PERSONAL                                                                      [ ] 375 FALSE CLAIMS
[   ] 110       INSURANCE         [ ] 310 AIRPLANE                                             [ ] 625 DRUG RELATED            [ ] 422 APPEAL
[   ] 120       MARINE            [ ] 315 AIRPLANE PRODUCT        INJURY/PRODUCT LIABILITY                                              28 USC 158             [ ] 376 QUI TAM
                                                                                                SEIZURE OF PROPERTY
[   ] 130       MILLER ACT                  LIABILITY             [ ] 365 PERSONAL INJURY             21 USC 881               [ ] 423 WITHDRAWAL              [ ] 400 STATE
[   ] 140       NEGOTIABLE        [ ] 320 ASSAULT, LIBEL &                 PRODUCT LIABILITY                                            28 USC 157                      REAPPORTIONMENT
                                                                                               [ ] 690 OTHER
                INSTRUMENT                  SLANDER               [ ] 368 ASBESTOS PERSONAL                                                                    [ ] 410 ANTITRUST
[ ] 150         RECOVERY OF       [ ] 330 FEDERAL                          INJURY PRODUCT                                                                      [ ] 430 BANKS & BANKING
                OVERPAYMENT &               EMPLOYERS'                     LIABILITY           PROPERTY RIGHTS                                                 [ ] 450 COMMERCE
                ENFORCEMENT                 LIABILITY                                                                                                          [ ] 460 DEPORTATION
                OF JUDGMENT       [ ] 340 MARINE                  PERSONAL PROPERTY            [ ] 820 COPYRIGHTS     [ ] 880 DEFEND TRADE SECRETS ACT         [ ] 470 RACKETEER INFLU-
[ ] 151         MEDICARE ACT      [ ] 345 MARINE PRODUCT                                       [ ] 830 PATENT                                                           ENCED & CORRUPT
[ ] 152         RECOVERY OF                 LIABILITY             [ ] 370 OTHER FRAUD                                                                                   ORGANIZATION ACT
                                                                                               [ ] 835 PATENT-ABBREVIATED NEW DRUG APPLICATION
                DEFAULTED         [ ] 350 MOTOR VEHICLE           [ ] 371 TRUTH IN LENDING                                                                              (RICO)
                STUDENT LOANS     [ ] 355 MOTOR VEHICLE                                        [ ] 840 TRADEMARK                                               [ ] 480 CONSUMER CREDIT
                (EXCL VETERANS)             PRODUCT LIABILITY                                                                  SOCIAL SECURITY
[ ] 153         RECOVERY OF                                                                                                                                    [ ] 485 TELEPHONE CONSUMER
                                  [ ✖] 360 OTHER PERSONAL
                OVERPAYMENT                 INJURY                [ ] 380 OTHER PERSONAL       LABOR                           [   ] 861 HIA (1395ff)                  PROTECTION ACT
                OF VETERAN'S       [ ] 362 PERSONAL INJURY -               PROPERTY DAMAGE                                     [   ] 862 BLACK LUNG (923)
                BENEFITS                   MED MALPRACTICE        [ ] 385 PROPERTY DAMAGE      [ ] 710 FAIR LABOR              [   ] 863 DIWC/DIWW (405(g))    [ ] 490 CABLE/SATELLITE TV
[ ] 160         STOCKHOLDERS                                               PRODUCT LIABILITY             STANDARDS ACT         [   ] 864 SSID TITLE XVI        [ ] 850 SECURITIES/
                SUITS                                                                          [ ] 720 LABOR/MGMT              [   ] 865 RSI (405(g))                   COMMODITIES/
[ ] 190         OTHER                                             PRISONER PETITIONS                     RELATIONS                                                      EXCHANGE
                CONTRACT                                          [ ] 463 ALIEN DETAINEE       [ ] 740 RAILWAY LABOR ACT                                       [ ] 890 OTHER STATUTORY
[ ] 195         CONTRACT                                          [ ] 510 MOTIONS TO           [ ] 751 FAMILY MEDICAL          FEDERAL TAX SUITS
                                                                                                                                                                        ACTIONS
                PRODUCT           ACTIONS UNDER STATUTES                   VACATE SENTENCE     LEAVE ACT (FMLA)
                LIABILITY                                                  28 USC 2255                                      [ ] 870 TAXES (U.S. Plaintiff or   [ ] 891 AGRICULTURAL ACTS
[ ] 196     FRANCHISE             CIVIL RIGHTS                    [ ] 530 HABEAS CORPUS        [ ] 790 OTHER LABOR                   Defendant)                [ ] 893 ENVIRONMENTAL
                                                                  [ ] 535 DEATH PENALTY                 LITIGATION          [ ] 871 IRS-THIRD PARTY                     MATTERS
                                                                  [ ] 540 MANDAMUS & OTHER     [ ] 791 EMPL RET INC                  26 USC 7609               [ ] 895 FREEDOM OF
                                  [ ] 440 OTHER CIVIL RIGHTS
                                                                                                        SECURITY ACT (ERISA)                                            INFORMATION ACT
                                          (Non-Prisoner)
REAL PROPERTY                                                                                                                                                  [ ] 896 ARBITRATION
                                  [ ] 441 VOTING                                               IMMIGRATION                                                     [ ] 899 ADMINISTRATIVE
[ ] 210        LAND               [ ] 442 EMPLOYMENT              PRISONER CIVIL RIGHTS
               CONDEMNATION       [ ] 443 HOUSING/                                          [ ] 462 NATURALIZATION                                                PROCEDURE ACT/REVIEW OR
[ ] 220        FORECLOSURE                  ACCOMMODATIONS        [ ] 550 CIVIL RIGHTS               APPLICATION                                                  APPEAL OF AGENCY DECISION
[ ] 230        RENT LEASE &       [ ] 445 AMERICANS WITH          [ ] 555 PRISON CONDITION  [ ] 465 OTHER IMMIGRATION                                           [ ] 950 CONSTITUTIONALITY OF
               EJECTMENT                    DISABILITIES -        [ ] 560 CIVIL DETAINEE             ACTIONS
                                            EMPLOYMENT                                                                                                          STATE STATUTES
[ ] 240        TORTS TO LAND                                         CONDITIONS OF CONFINEMENT
[ ] 245        TORT PRODUCT        [ ] 446 AMERICANS WITH
               LIABILITY                    DISABILITIES -OTHER
[ ] 290        ALL OTHER            [ ] 448 EDUCATION
               REAL PROPERTY




            Check if demanded in complaint:
                                                                           DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.
            CHECK IF THIS IS A CLASS ACTION                                AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
            UNDER F.R.C.P. 23                                              IF SO, STATE:

DEMAND $______________ OTHER ______________ JUDGE _________________________________ DOCKET NUMBER_________________

Check YES only if demanded in complaint
JURY DEMAND:              ✖   YES       NO                                 NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
                          Case 1:21-cv-06702-LAK Document 2 Filed 08/09/21 Page 2 of 2
(PLACE AN x IN ONE BOX ONLY)                                                      ORIGIN
                                                                                                                                            Multidistrict               Appeal to District
✖   1   Original           2 Removed from                  3   Remanded       4 Reinstated or              5 Transferred from           6   Litigation
                                                                                                                                                                    7   Judge from
        Proceeding           State Court                       from             Reopened                       (Specify District)
                                                                                                                                            (Transferred)               Magistrate Judge
                                                               Appellate
                            a.   all parties represented       Court
                                                                                                                                        8 Multidistrict Litigation (Direct File)
                            b.   At least one party
                                 is pro se.
(PLACE AN x IN ONE BOX ONLY)                                            BASIS OF JURISDICTION                                                    IF DIVERSITY, INDICATE
    1   U.S. PLAINTIFF           2   U.S. DEFENDANT              3   FEDERAL QUESTION   ✖ 4 DIVERSITY                                            CITIZENSHIP BELOW.
                                                                     (U.S. NOT A PARTY)

                                     CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)
         (Place an [X] in one box for Plaintiff and one box for Defendant)

                                 PTF     DEF                                                    PTF DEF                                                                   PTF      DEF
CITIZEN OF THIS STATE            [ ]1    [ ]1      CITIZEN OR SUBJECT OF A                      [ ] 3 [ ✖] 3         INCORPORATED and PRINCIPAL PLACE                     [ ]5     [ ]5
                                                    FOREIGN COUNTRY                                                  OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE         [✖] 2   [ ]2      INCORPORATED or PRINCIPAL PLACE              [ ]4[ ]4             FOREIGN NATION                                      [ ]6      [ ]6
                                                    OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)
12 Kylena Glade, Ocean Reef, Western Australia 6027




DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)
Royal Lodge at Windsor Great Park, Berkshire, SL4 2JD, United Kingdom




DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:




                                                                       COURTHOUSE ASSIGNMENT
I hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.



Check one:      THIS ACTION SHOULD BE ASSIGNED TO:                                        WHITE PLAINS                              ✖    MANHATTAN
                         /s/ David Boies
DATE 8/9/2021                                                                                             ADMITTED TO PRACTICE IN THIS DISTRICT
                                 SIGNATURE OF ATTORNEY OF RECORD                                          [ ] NO
                                                                                                          [✖] YES (DATE ADMITTED Mo.09
                                                                                                                                     _______ Yr. 1991
                                                                                                                                                 _______)
RECEIPT #                                                                                                 Attorney Bar Code # DB4399


Magistrate Judge is to be designated by the Clerk of the Court.

Magistrate Judge _________________________________________________________ is so Designated.

Ruby J. Krajick, Clerk of Court by _____________ Deputy Clerk, DATED _____________________.

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
                       Case 1:21-cv-06702-LAK Document 5 Filed 08/10/21 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

                   VIRGINIA L. GIUFFRE                                  )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                           Civil Action No. 21-cv- 6702
                                                                        )
          PRINCE ANDREW, DUKE OF YORK,                                  )
          a/k/a ANDREW ALBERT CHRISTIAN                                 )
           EDWARD, in his personal capacity                             )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Prince Andrew, Duke of York
                                           Royal Lodge at Windsor Great Park
                                           Berkshire
                                           SL4 2JD
                                           United Kingdom



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: David Boies
                                           Boies Schiller Flexner LLP
                                           333 Main Street
                                           Armonk, NY 10504
                                           Phone: (914) 749-8200
                                           Fax: (914) 749-8300

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:          8/10/2021                                                               /S/ V. BRAHIMI
                                                                                          Signature of Clerk or Deputy Clerk
Case 1:21-cv-06702-LAK Document 7 Filed 08/12/21 Page 1 of 2
       Case 1:21-cv-06702-LAK Document 7 Filed 08/12/21 Page 2 of 2
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------x
Virginia L. Giuffre,
                                   Plaintiff(s),                              21-cv- 6702(LAK)
     v.

Prince Andrew,
Duke of York, in his personal capacity
also known as
Andrew Albert Christian Edward
                              Defendant(s).
-----------------------------x
                                           Consent Scheduling Order
                  Upon consent of the parties, it is hereby
                  ORDERED as follows:

1.        No additional parties may be joined after                 .
2.        No amendments to the pleadings will be permitted after ____________.

3.        The parties shall make required Rule 26(a)(2) disclosures with respect to:
          (a) expert witnesses on or before ____________;
          (b) rebuttal expert witnesses on or before ____________.
4.        All discovery, including any depositions of experts, shall be completed on or before                   .

5.        A joint pretrial order in the form prescribed in Judge Kaplan's individual rules shall be filed on or
          before               .
6.        No motion for summary judgment shall be served after the deadline fixed for submission of the
          pretrial order. The filing of a motion for summary judgment does not relieve the parties of the
          obligation to file the pretrial order on time.

7.        If any party claims a right to trial by jury, proposed voir dire questions and jury instructions shall
          be filed with the joint pretrial order.

8.        Each party or group of parties aligned in interest shall submit not less than ten (10) days prior to
          trial (a) a trial brief setting forth a summary of its contentions and dealing with any legal and
          evidentiary problems anticipated at trial, and (b) any motions in limine.
9.        This scheduling order may be altered or amended only on a showing of good cause not
          foreseeable at the date hereof. Counsel should not assume that extensions will be granted as a
          matter of routine.

Dated:                                                                    _____________________________
                                                                                 Lewis A. Kaplan
                                                                             United States District Judge
CONSENTED TO: [signatures of all counsel]
